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 8                              UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
10
11     UNITED STATES OF AMERICA,                            Case No.: 51cv1247-JO(RBB)
12                                         Plaintiff,
                                                            ORDER DENYING EX PARTE
13     RAMONA BAND OF CAHUILLA,                             APPLICATION TO RELEASE
       CAHUILLA BAND OF INDIANS,                            PROPOSED SETTLEMENT
14
                                                            AGREEMENT TO MICHAEL J.
15                           Plaintiffs-Intervenors,        MACHADO, PAMELA M.
       v.                                                   MACHADO, AND THE GENERAL
16
       FALLBROOK PUBLIC UTILITY                             PUBLIC AND DENYING REQUEST
17     DISTRICT, et al.,                                    FOR FURTHER RELIEF
                                                            [ECF NO. 5898]
18                                     Defendants.
19
20           On May 19, 2022, Defendants Michael J. Machado and Pamela M. Machado aka
21     Pamela M. Bartholomew (hereafter “Machado Defendants”), in pro se, filed an Ex Parte
22     Application Regarding Proposed Settlement, in which they request that the Court set
23     aside the attorney-client privilege and issue an order requiring the settlement parties to
24     release the proposed settlement agreement to them and the general public [ECF No.
25     5898]. Plaintiffs-Intervenors Ramona Band of Cahuilla and Cahuilla Band of Indians
26     filed an opposition on June 21, 2022 [ECF No. 5901]. For the reasons discussed below,
27     the Ex Parte Application is DENIED.
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 1           This Court has overseen the settlement process since 2010 and has held numerous
 2     settlement conferences. To facilitate settlement discussions, the negotiations have
 3     proceeded with a representative group of stakeholders including Cahuilla Band of
 4     Indians; Ramona Band of Cahuilla; United States of America; Hemet Unified School
 5     District; State of California; County of Riverside; Michael J. Preszler, Watermaster;
 6     Greenwald Estate; individual landowners represented by James Markman of Richards,
 7     Watson & Gershon; and Agri-Empire, Inc. (See, e.g., Mins., Apr. 19, 2022, ECF No.
 8     5891.) The litigation in this case has been stayed through the duration of these settlement
 9     conferences to facilitate settlement negotiations and is presently stayed until July 6, 2022.
10     (See Order Granting Joint Motion to Extend Stay, ECF No. 5854.) The Ramona Band of
11     Cahuilla and Cahuilla Band of Indians represent that the proposed settlement agreement
12     is nearly complete. (Opp’n 3, ECF No. 5901.) The attorneys for the settlement parties
13     plan to present the settlement agreement to their respective clients for review and
14     approval following completion of the draft agreement. (Id.) Thereafter, the settlement
15     parties anticipate making the settlement agreement available upon request to parties, such
16     as the Machado Defendants, to participate in the settlement discussions. (Id.) On behalf
17     of themselves and the other negotiating parties, the Ramona Band of Cahuilla and
18     Cahuilla Band of Indians represent that “[t]he Defendants who have not participated in
19     the settlement discussions . . . will have many opportunities to express their views about
20     the reasonableness of the settlement.” (Id. at 4.) Additionally, the process for obtaining
21     court approval of the settlement “will include a hearing at which any Party may present
22     its views about the reasonableness of the settlement and the final decree.” (Id.)
23           Considering the status of settlement negotiations and the current stay of the
24     litigation, the Machado Defendants’ request is premature. Disclosing the draft settlement
25     agreement may impede the substantial progress made by the settlement parties to
26     effectuate a settlement of this longstanding litigation. Based on the representations made
27     by Ramona Band of Cahuilla and Cahuilla Band of Indians on behalf of the negotiating
28     parties, as well as this Court’s familiarity with this matter, the Machado Defendants will

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 1     have ample opportunity to present their views of the settlement agreement. Defendants’
 2     ex parte application to release the draft settlement agreement and set aside the attorney-
 3     client privilege is accordingly DENIED.
 4           IT IS SO ORDERED.
 5     Dated: June 23, 2022
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